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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                   :   CRIMINAL NO. 1:05-CR-0085
                                           :
                                           :
             v.                            :   (Chief Judge Conner)
                                           :
                                           :
CLARENCE LOUIS CRUDUP,                     :
                                           :
                   Defendant               :



                                      ORDER

      AND NOW, this 16th day of January, 2018, upon consideration of defendant’s

concurred in motion (Doc. 70) to cancel final revocation hearing and request to

dismiss petition in light of agreement, it is hereby ORDERED that said motion is

GRANTED. The final revocation hearing as to defendant Clarence Louis Crudup,

which was set for January 23, 2018, is CANCELLED. The defendant is hereby

ORDERED to serve three (3) months of home confinement, in accordance with the

directives of the United States Probation Office.



                                           /S/ CHRISTOPHER C. CONNER
                                           Christopher C. Conner, Chief Judge
                                           United States District Court
                                           Middle District of Pennsylvania
